Case 2:20-cv-00974-GRB-AKT Document 118 Filed 09/04/21 Page 1 of 1 PagelD #: 889

CONSENT TO JOIN

THIS FORM MUST BE MAILED, FAXED, OR EMAILED ON OR BEFORE SEPTEMBER 10, 2021

ABC1234567890 Claim Number 1111111

JOHN Q CLASSMEMBER
123 MAIN ST

APT 1

ANYTOWN, ST 12345

Pursuant to Section 16(b) of the Fair Labor Standards Act, I consent to join the collective action
brought in United States District Court for the Eastern District of New York entitled Caccavale vy.
Unisys Corporation, 20-cv-00974 (GRB)(AKT) to recover liquidated damages for the alleged failure

to promptly pay a portion of overtime wages that I may have received to the extent that I worked any
overtime for the period of December 17, 2017 to present.

Please check one of the following:
I hereby authorize the Moser Law Firm, PC to represent me in this action.

| I intend to engage another attorney to represent me in this action. My Attorney’s name,
address and telephone number are as follows:

 

 

 

I agree to be bound by any adjudication by the Court or settlement of this action.

Full Legal Name: — Thames Abmban

Address:

 

Telephone Nurr

Email:

9312,

Date

 

MAIL TO: MOSER LAW FIRM, PC
Attn: Caccavale v. Unisys Consent to Join
5 East Main Street
Huntington, NY 11743
516-671-1150

FAX: 631-824-0200
EMAIL: admin@moserlawfirm.com
